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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 LANELL PIERCY, WILLA G. WARD,
 THOMAS L. MAZZEO, and SUE RUSH,
 individually and as representatives on behalf
 of a class of similarly situated persons,

         Plaintiffs

                 v.

 AT&T INC.
 P.O. Box 132160
 Dallas, Texas 75313-2160,                           Case No. 1:24-cv-10608-NMG

 AT&T SERVICES, INC.
 P.O. Box 132160
 Dallas, Texas 75313-2160,

 -and-

 STATE STREET GLOBAL ADVISORS
 TRUST CO.
 1 Iron Street
 Boston, Massachusetts 02210-1641,

         Defendants.


                  NOTICE OF FORTHCOMING AMENDED COMPLAINT

         Plaintiffs file this notice simultaneously with their Memorandum of Law in Opposition to

Defendants’ Opposed Motion to Seal Certain Exhibits in Support of Their Motions to Dismiss

Plaintiffs’ Complaint. See ECF No. 49. For the sake of judicial economy, Plaintiffs hereby notify

the Court of their intention to file an amended complaint in this action on or before June 26, 2024,

in accordance with Federal Rule of Civil Procedure 15(a)(1)(B). The amended complaint will be

accompanied by a request to consolidate this action with Schloss et al. v. AT&T Inc. et al., No.

1:24-cv-10656-FDS (D. Mass. filed March 15, 2024), and it will be styled a consolidated
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complaint. The filing of the amended complaint will have the effect of mooting Defendants’

motions to dismiss, which are intertwined with their motion to seal. See Lee v. Bank of Am., No.

23-10714-FDS, 2023 WL 3572422, at *1 (D. Mass. May 19, 2023).



Dated: June 20, 2024                        /s/ Douglas S. Brooks
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                                CERTIFICATE OF SERVICE

        I, Douglas S. Brooks, hereby certify pursuant to Local Rule 7.1(c) that on June 20, 2024, I

caused the foregoing document, titled “Notice of Forthcoming Amended Complaint” to be filed

electronically using the Court’s CM/ECF system, which will send notification of such filing to all

parties via their counsel of record in the above-captioned case. No named parties are unrepresented

in this action.



Dated: June 20, 2024                                  /s/    Douglas S. Brooks
                                                             Douglas S. Brooks




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